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           EXHIBIT B
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June 1, 2022


VIA ELECTRONIC MAIL

Matthew M. Lavin
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1775 Pennsylvania Ave NW, Suite 1000
Washington, DC 20006

David M. Lilienstein
DL Law Group
345 Franklin Street
San Francisco, CA 94102

Re:    Document Categories and Search Terms Relating to Plaintiffs’ Requests for
       Production

Dear Counsel:

        I write on behalf of United Behavioral Health (“UBH”) and UnitedHealthcare
Insurance Company (“UHC”) (collectively, the “United Defendants”) to update you on our
document review and production efforts, in advance of the upcoming depositions that he
parties are currently scheduling. After you have reviewed, please promptly let us know if you
would like to discuss any of the matters in this letter.

        As explained in our December 20, 2021 letter, the United Defendants have undertaken
a significant ESI collection, review, and production in response to Plaintiffs’ discovery
requests. We have already made several substantial productions, and we are on track to make
a few more productions in the coming weeks. We expect to have our ESI productions done
prior to your depositions of the United Defendants’ witnesses. We will also be producing
some additional categories outside of our ESI/search term process, in response to certain
requests and categories, as explained below. Our goal is to complete these productions in
advance of these depositions as well, though some of them may take longer to complete
(because they involve going to different parts of the company), so we will update you as this
process continues. Of course, we reserve the right to supplement our productions at any time,
and to rely on any information necessary to respond to Plaintiffs’ claims and allegations.

      Finally, we note that at various points the parties have discussed ESI protocols and
parameters. This letter (along with our December 20, 2021 letter) is intended to memorialize
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and explain the United Defendants’ approach, taking into account all of these discussions,
consistent with best practices regarding ESI discovery and applicable rules in the Northern
District of California. We also believe providing this information in writing (and if necessary
discussing any follow-up questions you may have afterwards) is a more efficient way to ensure
the parties understand each other’s discovery parameters and processes than conducting
depositions or serving discovery requests on these topics. See Plaintiffs’ Topic 1 in 30(b)(6)
Notice to United Defendants; Plaintiffs’ First Set of RFPs Nos. 133 to 135. This letter (and
any follow-up discussions as needed among counsel) is intended to satisfy these topics and
requests.

       ESI Sources / Search Terms / Protocol

         As discussed in our December 20, 2021 letter and the attachment listing our search
terms, we have been reviewing emails and other ESI collected from the custodians listed in
our October 1, 2021 letter, the PIG drive, as well as a SharePoint we have identified as
containing responsive documents. Based on that collection and review, we have been
producing responsive, non-privileged documents and will continue to do so. We have also
reviewed subsequent requests from Plaintiffs (served after our December 20 letter) and do not
intend to add any new custodians, search terms, or review categories to our ESI review, for the
reasons explained in our written responses at the time (and as explained below). However, as
discussed below, we will be conducting several additional searches, outside of our ESI review,
to satisfy several of Plaintiffs’ requests that we do not anticipate will be addressed by our ESI
review.

        Because the parties could not agree on TAR protocols, we have been relying on
document reviewers, rather than TAR, to identify responsive documents from the ESI
identified by our collections and search terms. Although the parties never executed the ESI
protocol that was circulated multiple times several months ago, our understanding is that we
generally are aligned on the latest version that was circulated on February 11, 2022, and we
have been operating in accordance with those provisions. Please let us know if you would like
to execute this version of the protocol and we can do so.

       ESI Categories

        As explained in our December 20, 2021 letter, due to the objections and practical
challenges posed by Plaintiffs’ numerous overlapping document requests, we distilled
Plaintiffs’ requests into seven categories for our review and production. These seven
categories have been the focus of our ESI searches and reviews since December. We recognize
that Plaintiffs served several additional rounds of discovery after our review began in
December, and as explained below we believe many of these requests are encompassed by the
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existing seven categories (taking into account the United Defendants’ reasonable objections
and clarifications to Plaintiffs’ requests, as explained on our written responses to each request).
Below are the categories from our December 20 letter, along with the corresponding
subsequent requests underlined to show which requests go with which category.

1. Documents Showing The Design, Implementation, and Changes to
   MultiPlan/Viant’s Facility R&C Methodology/Database. See Plaintiffs’ First Set of
   Requests for Production (“Plaintiffs’ First Set of RFPs”) Nos. 8 to 13, 15 to 16, 19, 34,
   35 to 39, 49, 56 to 63, 65, 74, & 103 to 126; Plaintiffs’ Third Set of Requests for
   Production (“Plaintiffs’ Third Set of RFPs”) Nos. 1 to 4, 17, 24, 27 to 29, 31 to 33, 36, &
   40 to 41; Plaintiffs’ Fifth Set of Requests for Production (“Plaintiffs’ Fifth Set of RFPs”)
   Nos. 3 to 5, 7.

2. Documents Showing The Design, Implementation, and Changes to
   MultiPlan/Viant’s Fee Negotiation Services for Facility R&C Claims. See Plaintiffs’
   First Set of RFPs Nos. 8 to 11, 15 to 16, 19, 26, 35 to 39, 43, 49, 69 to 71, & 103 to 126;
   Plaintiffs’ Third Set of RFPs Nos. 1 to 4, 17, 21 to 22, 24, 27 to 29, 31 to 33, 36, & 40 to
   41; Plaintiffs’ Fifth Set of RFPs Nos. 3 to 5, 7.

3. Documents Showing Design, Implementation, and Changes to United’s Facility
   R&C Program, Including Any Default Rates and Percentiles. See Plaintiffs’ First Set
   of RFPs Nos. 8 to 11, 14 to 16, 19 to 21, 23 to 25, 32 to 33, 35 to 39, 49, 51 to 52, 64, 73,
   & 103 to 126; Plaintiffs’ Third Set of RFPs Nos. 1 to 4, 17, 24 to 25, 27 to 29, 31 to 33,
   36, & 40 to 41; Plaintiffs’ Fifth Set of RFPs Nos. 3 to 5, 7.

4. Documents Comparing Viant/Facility R&C Methodology and/or Rates to Other
   Reimbursement Methodologies. See Plaintiffs’ First Set of RFPs Nos. 8 to 11, 15 to
   16, 19, 35 to 39, 49, 52, 75, & 103 to 126; Plaintiffs’ Third Set of RFPs Nos. 1 to 5, 17,
   23 to 24, 26 to 27 to 29, 31 to 33, 36, & 40 to 41; Plaintiffs’ Fifth Set of RFPs Nos. 3 to
   5, 7.

5. Documents Reporting Or Analyzing Savings or Fees Paid to UHC or
   MultiPlan/Viant, or Income to UHC or MultiPlan/Viant From the Viant/Facility
   R&C Program. See Plaintiffs’ First Set of RFPs Nos. 6 to 11, 15 to 16, 19, 22, 35 to 42,
   49 to 50, 69, & 103 to 126; Plaintiffs’ Third Set of RFPs Nos. 1 to 4, 8, 17 to 18, 24, 27
   to 30, 31 to 41; Plaintiffs’ Fifth Set of RFPs Nos. 3 to 4, 7.

6. Documents Showing Communications With Providers and Members About Facility
   R&C. See Plaintiffs’ First Set of RFPs Nos. 8 to 11, 15 to 16, 19, 26 to 27, 29 to 31, 35
   to 39, 43 to 45, 49, 54 to 55, 66 to 68, 70 to 71, 76, 89, 97, & 103 to 130; Plaintiffs’
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   Third Set of RFPs Nos. 1 to 4, 17, 19 to 22, 24, 27 to 29, 31 to 33, 36, & 40 to 41;
   Plaintiffs’ Fifth Set of RFPs No. 3, 7.

7. Documents Showing Communications With Health Plans and Plan Sponsors About
   Facility R&C. See Plaintiffs’ First Set of RFPs Nos. 8 to 11, 15 to 16, 19, 35 to 39, 46
   to 49, 53, 55, 84 to 86, 87 to 88, & 103 to 126; Plaintiffs Third Set of RFPs Nos. 1 to 4, 6
   to 7, 15 to 17, 24, 27 to 29, 31 to 33, 36, & 40 to 41; Plaintiffs’ Fifth Set of RFPs Nos. 3
   to 5, 7.

      Reserving all objections, we have been using a January 1, 2015 cut-off for the above
ESI categories and review.

       Additional Document Categories/Targeted Searches

        As discussed above, we are conducting several additional searches, outside of our ESI
review, to satisfy several of Plaintiffs’ requests that we do not anticipate will be addressed by
our ESI review. We have already produced some of these materials, and other efforts remain
ongoing. Below is an update regarding several of these categories discussed in our December
20 letter:

1. Claim Data Reports. See Plaintiffs’ First Set of RFPs Nos. 1 to 2, 6 to 7, 28; Plaintiffs’
   Second Set of RFPs No. 1; Plaintiffs’ Third Set of RFPs No. 42. As you know, we have
   already produced a responsive claims report consistent with the parameters we outlined
   in our November 19, 2021 letter. We anticipate supplementing this claims report with a
   production of archived data (mostly 2016 and 2017 dates of service) using the same
   parameters/fields, to the extent possible. Because archived data are not as readily
   available as the live data, this process has taken longer, but we are hopeful it can be
   completed relatively soon.

2. Named Plaintiff Documents. See Plaintiffs’ First Set of RFPs Nos. 83, 91 to 96, 98 to
   102, & 136. As explained in our December 20, 2021 letter, we have already produced
   substantially all of the administrative records for Plaintiffs, and we intend to make a
   supplemental production of a few additional documents. We do not anticipate producing
   the EDI files, as our understanding is that it would be impossible to identifying which
   EDI files go with Plaintiffs’ claims, particular this many years later, but we anticipate
   explaining this process at the Rule 30(b)(6) deposition and can discuss a potential
   stipulation regarding specific facts you think you need concerning EDI exchanges
   beyond the deposition.
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3. Affirmative Defenses. See Plaintiffs’ Second Set of RFPs Nos. 2 to 52; Plaintiffs’ Third
   Set of RFPs Nos. 43 to 93. As explained in our December 20, 2021 letter, we intend to
   rely on all of the information and data produced in the case, including the claims data,
   sample files, and documents produced by any party or third party in this case. We also
   reserve the right to supplement with additional at any point as is appropriate.

4. Plan-Specific Documents. We are sending you a separate letter addressing these topics
   and requests, and incorporate that letter by reference here.

5. Related Litigation. See Plaintiffs’ First Set of RFPs Nos. 77 & 90; Plaintiffs’ Fifth Set
   of RFPs No. 6. These requests raise issues of privilege, as framed, but without waiving
   privilege, we will be producing any publicly-filed complaints showing litigation brought
   against United Defendants concerning Facility R&C that we can locate based on a
   reasonable, good faith search.

       As explained in prior correspondence, the United Defendants have already made
productions responsive to Request Nos. 3, 95, 96, 98, 99, 100 and 102 of Plaintiffs’ First Set
of Requests for Production, so they are not included in the above lists.

        In addition to the above-listed requests, Plaintiffs have propounded requests in their
Fourth, Fifth, and Sixth set of Requests for Production that United Defendants intend to satisfy,
consistent with the parties’ discussions, as follows:

1. Verification-of-Benefits (“VOB”) Call Records. See Plaintiffs’ Fourth Set of Requests
   for Production (“Plaintiffs’ Fourth Set of RFPs”) Nos. 1 to 87. As previously discussed,
   the United Defendants have been attempting to locate for production any call recordings
   of the 25 specific VOB phone calls Plaintiffs identified in the chart dated April 20, 2022,
   based on information provided by Plaintiffs. As discussed during the parties’ February
   14, 2022 meet and confers and email correspondence from February 28, 2022 and March
   25, 2022, locating this information is extremely difficult based on the limited information
   available, so it is unlikely we will be able to locate call recordings for all of these calls.
   As we have also discussed on several phone calls, please also promptly produce any call
   recordings you have, either for these specific phone calls or any others involving putative
   class members, as having these calls may be useful in helping us to locate any records we
   have—and of course they are also responsive to our requests.

2. Claims Sample Administrative Records. See Plaintiffs’ Sixth Set of Requests for
   Production (“Plaintiffs’ Sixth Set of RFPs”) Nos. 1 to 25. We just recently received
   these requests, and the United Defendants will be serving their responses and objections
   to Plaintiffs’ Sixth Set of RFPs within the time provided for under the Federal Rules of
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   Civil Procedure. However, as discussed on our May 25 call, the United Defendants
   anticipate producing the administrative records for the twenty-five members and claims
   listed in the requests, which we understand Plaintiffs’ counsel have hand-picked based on
   information available to Plaintiffs’ counsel. We will also be producing administrative
   records for a random sample of plan members, in addition to those selected by Plaintiffs’
   counsel.

       For reasons previously discussed, we are generally using a cut-off of April 2, 2016 for
the above categories.

        Finally, as previously discussed in our December 20 letter and our written responses to
particular requests, the following requests seek information that is outside the scope of this
action: Request Nos. 4 to 5, 17, 18, 72, 131 & 132 in Plaintiffs’ First Set of Requests for
Production. The United Defendants will also not be producing documents in response to
Plaintiffs’ Fifth Set of RFPs No. 2, as it is objectionable for reasons stated in our written
responses and exceeds our obligations under Judge Spero’s civil minutes from the parties’
April 1, 2022 hearing. See Dkt. 125.

                                       *      *       *

        Please let us know if you would like to discuss and we will make ourselves available
for another meet and confer. Thank you for your prompt attention to these matters.

Sincerely,

/s/ Geoffrey Sigler


cc: All counsel of record
